Case: 4:19-cv-02698-SNLJ Doc. #: 18 Filed: 03/09/20 Page: 1 of 2 PageID #: 52




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI

 BRANDON LOVELESS , on behalf of himself
                                    §
 and others similarly situated,     §
                        Plaintiffs, §      Civil Action No.: 4:19-CV-2698
                                    §
      V.                            §
                                    §
 ECOTECH, LLC and MICHAEL           §
 A VRUSHENKO,                       §
                  Defendants.       §
                                    §
                                    §
                    JOINT STIPULATION OF DISMISSAL

       Plaintiff Brandon Loveless AND Defendants Ecotech, LLC and Michael A vrushenko,

pursuant to Federal Rule of Civil Procedure 41 (a)( 1)(A)(ii), hereby jointly stipulate that this action

is dismissed with prejudice, with all parties to bear their own costs and fees, except as specifically

agreed to by the Parties.

Dated: March 9, 2018

                                       Respectfully submitted,

 BAILEY COWAN HECKAMAN PLLC                         F0RDHARRIS0N LLP

 Isl Ro-h,eef W.   Cowtu-v                          Isl Ktt¥e-vv E.   M~ (wlconsent)
 Robert W. Cowan, #68929MO                          Karen E. Milner, #34763MO
 Katie R. McGregor, pro hac vice                    Jamie M. Westbrook, #66055MO
 Bailey Cowan Heckaman PLLC                         7777 Bonhomme A venue, Suite 1800
 5555 San Felipe Street, Suite 900                  St. Louis, MO 63105
 Houston, TX 77056                                  (314) 257-0302 - Telephone
 (713) 425-7111 - Telephone                         (314) 257-0320 - Facsimile
 (713) 425-7101 - Facsimile                         KMilner@fordharrison.com
 rcowan@bchlaw.com                                  jwestbrook@fordharrison.com
 kmcgregor@bchlaw.com
                                                    Attorney for Defendants
 Counsel for Plaintiffs




                                                   1
     Case: 4:19-cv-02698-SNLJ Doc. #: 18 Filed: 03/09/20 Page: 2 of 2 PageID #: 53




                                  CERTIFICATE OF SERVICE
           I hereby certify that I have on March 9, 2020, served a true and correct copy of the
    foregoing via the Court' s e-filing system upon the following:


    Karen E. Milner
    Jamie M. Westbrook
    FORDHARRISON LLP
    7777 Bonhomme A venue, Suite 1800
    St. Louis, MO 63105
    KMilner@fordharrison.com
    jwestbrook@fordharrison.com

                                                     Isl Ro-byj--W. Co:WtU:'.Y
                                                       Robert W. Cowan



SO ORDERED this 9th day of March, 2020




STEPHEN N. LIMBAUGH, JR.
UNITED STATES DISTRICT JUDGE




                                                 2
